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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF INDIANA
                                     FOR NEW ALBANY

IN RE:                                             )     Chapter 11
                                                   )
EASTERN LIVESTOCK CO., LLC,                        )     Case No. 10-93904-BHL-11
                                                   )
                        Debtor.                    )     Hon. Basil H. Lorch, III
                                                   )

                           NOTICE OF CHANGE OF LAW FIRM NAME

         PLEASE TAKE NOTICE that, effective January 2, 2012, Greenebaum Doll & McDonald PLLC

merged with Bingham McHale LLP to form a new law firm known as Bingham Greenebaum Doll LLP.

The attorneys of record in this matter previously affiliated with Greenebaum Doll & McDonald PLLC are

now affiliated with Bingham Greenebaum Doll LLP. The contact information for these attorneys remains

the same except for their email addresses, which have changed as follows:

james@bgdlegal.com
cbowles@bdglegal.com
cmoore@bdglegal.com
sbrehm@bgdlegal.com
ishallcross@bgdlegal.com

                                                Respectfully submitted,

                                                /s/ John W. Ames
                                                John W. Ames
                                                C.R. Bowles, Jr.
                                                Christie A. Moore
                                                Steven A. Brehm
                                                Ivana B. Shallcross
                                                BINGHAM GREENEBAUM DOLL LLP
                                                3500 National City Tower
                                                101 South Fifth Street
                                                Louisville, Kentucky 40202-3197
                                                502/589-4200

                                                COUNSEL FOR SUPERIOR LIVESTOCK AUCTION,
                                                INC.
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on January 5, 2012 a copy of the foregoing was filed electronically.
Notice of this filing will be sent to all Counsel of record through the Court’s Electronic Case
Filing System. Parties may access this filing through the Court’s system.

                                              /s/ John W. Ames
                                              John W. Ames

                                              COUNSEL FOR SUPERIOR LIVESTOCK AUCTION,
                                              INC.
